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                     IN THE UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


 IN RE:                                                  CASE NO.: 16-14014-KHK
 ALICE JEAN VASKO, Debtor.                               Chapter 13


                              OBJECTION TO PROOF OF CLAIM

        COMES NOW, the Debtor, by Counsel, and moves this Honorable Court, and objects

 to the claim filed by Educational Credit Management Corporation (hereinafter “ECMC”) for

 money loaned / student loan and for reasons states as follows:

        1.     This Objection arises in and relates to Debtor’s Chapter 13 Bankruptcy case

 now pending in this Court.

        2.     On or about January 30, 2017, ECMC filed a Proof of Claim for an unsecured

 claim in the amount of $83,423.50.

        3.     The Debtor does object to the Proof of Claim of ECMC in that the loan is not

 due and payable and has been forgiven heretofore by the Office of the U.S. Department of

 Education.

        4.     That in support thereof, Debtor was advised previously by phone and

 received the attached confirmation on or about the 20th day of March, 2017 via email,

 attached hereto as Exhibit A.

        5.     That ECMC is not the actual lender and is merely a management

 organization and its information is apparently out of date at this time.

        6.     The Debtor requests that the Proof of Claim filed by ECMC be disallowed in

 compliance with the aforementioned objections.

        WHEREFORE, the Debtor respectfully requests that:

        a)     The aforementioned Proof of Claim filed by ECMC be disallowed, and;

        b)     For such other and further relief as this Honorable Court deems just and

 proper under the law.
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                                         ALICE JEAN VASKO,
                                         By Counsel


 SCOTT H. DONOVAN, P.C.
  /s/Scott H. Donovan
 SCOTT H. DONOVAN, ESQUIRE
 VSB #24592
 9402 GRANT AVENUE
 MANASSAS, VIRGINIA 20110
 (703) 257-1159/ScottHDonovan@aol.com



                               CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of April, 2017, copies of the foregoing were
 electronically delivered to Thomas Gorman, Chapter 13 Trustee, United States Trustee,
 ECMC and to Debtor.


                                          /s/Scott H. Donovan
                                         Scott H. Donovan, Esquire


                           §7004 CERTIFICATE OF SERVICE

       I hereby certify that on the 3rd day of April, 2017, copies of the foregoing were
 mailed by USPS First Class Mail and by Certified/Return Receipt to:

                      Educational Credit Management Corporation
                                   Malinda Cardenas
                           ECMC Bankruptcy Representative
                                     PO Box 16408
                                   St Paul, MN 55116
                                         and to
                             U.S. Department of Education
                                       Betsy Devos
                                  Education Secretary
                                     830 First St NE
                                Washington, DC 20002


                                         /s/Scott H. Donovan
                                         Scott H. Donovan, Esquire




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